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                                                       IN THE UNITED STATES DISTRICT COURT
                                                            FOR THE DISTRICT OF ALASKA

                                     MIKE TOYUKAK, et al.,                       )
                                                                                 )
                                                   Plaintiffs,                   )
OFFICE OF THE ATTORNEY GENERAL




                                                                                 )
 1031 W. FOURTH AVENUE, SUITE 200




                                     v.                                          )   Case No.: 3:13-cv-00137-SLG
    ANCHORAGE, ALASKA 99501
       DEPARTMENT OF LAW

       ANCHORAGE BRANCH




                                                                                 )
         PHONE (907) 269-5100




                                     KEVIN MEYER, et al.,                        )
                                                                                 )   NOTICE AND MOTION
                                                   Defendants.                   )   REGARDING ELECTION
                                                                                 )   REPORT

                                           Pursuant to the Second Stipulated Order in this case, the State of Alaska,

                                    Division of Elections (“Division”), must file a report following the Regional

                                    Educational Attendance Area (REAA) elections. Dkt. 333 at 39. The Division now files

                                    such a report covering the 2021 REAA elections.

                                           The Division also moves, under D.AK. LR 7.3(c), to conventionally file a CD

                                    containing the attachments supporting this report. These attachments include many files

                                    and appear to exceed the size restrictions for electronic filing. The Division will send

                                    these attachments to the other parties electronically and mail the CD to the Court today.



                                    Case 3:13-cv-00137-SLG Document 334 Filed 12/06/21 Page 1 of 2
                                          DATED: December 6, 2021.

                                                                            TREG TAYLOR
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                                                                            By:   /s/Thomas S. Flynn
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                                    Certificate of Service
    ANCHORAGE, ALASKA 99501
       DEPARTMENT OF LAW

       ANCHORAGE BRANCH




                                    I certify that on December 6, 2021 the foregoing Notice and Motion Regarding Election
         PHONE (907) 269-5100




                                    Report were served electronically on:

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                                    /s/Thomas S. Flynn


                                    TOYUKAK et al. v. TREADWELL et al.              Case No.: 3:13-cv-00137-SLG
                                    NOTICE  AND MOTION REGARDING
                                    Case 3:13-cv-00137-SLG Document 334ELECTION    REPORT
                                                                         Filed 12/06/21 Page 2 of 2 Page 2 of 2
